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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOANNE MARIE ROMAN, Pro Se Litigant,              )
CARMIELO ROMAN TORRES, spouse,                    )
JMR, dependent daughter, JG, dependent son,       )
                                                  )
                               Plaintiff,         )
                                                  )
               v.                                 )   No. 2:23-cv-0308-WSH
                                                  )
M&T BANK, KML LAW GROUP, P.C.,                    )
J. ERIC KISHBAUGH, Attorney for                   )
M&T BANK,                                         )
                                                  )
                               Defendants.        )

                                             ORDER

       Given that motions pursuant to Federal Rule of Civil Procedure 12(b) are discouraged if

the pleading defect is curable by amendment, IT HEREBY IS ORDERED that the parties must

meet and confer before the filing of such a motion to determine whether any pleading defects are

curable by amendment, thereby obviating part or all of the motion. The duty to meet and confer

extends to parties appearing pro se. Consistent with the foregoing, a motion to dismiss must be

accompanied by a certificate, stating that the moving party has made good faith efforts to confer

with the nonmovant(s) to determine whether the identified pleading deficiencies may be cured by

amendment.

       Motions to dismiss that do not contain the required certification will be summarily

denied. Furthermore, a non-moving party’s non-compliance with this Order, including failure to

timely engage in the meet-and-confer process, may result in the assessment of monetary and/or

nonmonetary sanctions. Those sanctions may include, but are not limited to, an assessment of

attorney’s fees and costs associated with the filing of the motion to dismiss, and/or a denial of the

non-movant’s subsequent request for leave to amend.
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       IT IS FURTHER ORDERED that: (1) all counsel and unrepresented parties must read,

know and understand the Local Rules of this Court (see https://www.pawd.uscourts.gov/court-

info/local-rules-and-orders/local-rules); and (2) all counsel and unrepresented parties must

familiarize themselves with the undersigned’s Practices and Procedures and they will be held

responsible for complying with the same.




                                                 /s/ W. Scott Hardy
                                                 W. Scott Hardy
                                                 United States District Judge

Dated: March 2, 2023


cc/ecf: All Counsel of Record




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